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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

ENOVSYS LLC,

Plaintiff,
vs.

AT&T MOBILITY LLC and AT&T
MOBILITY II LLC,

Defendants.

 

AT&T MOBILITY LLC and AT&T
MOBILITY II LLC,

Counterclaimants,
vs.

ENOVSYS LLC,

Counterdefendant.

 

 

 

[PROPOSED] JUDGMENT

Case No.: 2:11-CV-05210-SS

[M§HM]’JUDGMENT

Honorable Suzanne H. Segal

CASE NO. 2:1 l-cv-05210-SS

 

 

 

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The above-entitled matter Was tried to a jury before the Honorable Suzanne
H. Segal, United States Magistrate Judge presiding by consent of all parties. On
August 27, 2015, after deliberation, the jury returned a special verdict addressing
infringement, anticipation, statutory bars, and obviousness and found that plaintiff,
Enovsys LLC (“Enovsys”), had not proved that defendants AT&T Mobility LLC
and AT&T Mobility II LLC (collectively, “AT&T”) infringed claims 1, ll, 13, or
28 of U.S. Patent No. 6,560,461 (“‘461 patent”); that Enovsys had not proved that
AT&T infringed claim 1 of U.S. Patent No. 7,925,273(“’273 patent”); that AT&T
had proved that claims 1, 11, and 13 of the ‘461 patent Were anticipated; that
AT&T had not proved that claim 28 of the ‘461 patent Was anticipated; that AT&T
had proved that claims 1, 11, and 13 of the ‘461 patent Were not filed Within the
time required by law; that AT&T had not proved that claim 28 of the ‘461 patent
Was not filed Within the time required by law; that AT&T had proved that claims
1, 11, and 13 of the ‘461 patent Were obvious; and that AT&T had not proved that
claim 28 of the ‘461 patent Was obvious.

Accordingly, pursuant to Federal Rules of Civil Procedure 54 and 58, IT IS
HEREBY ORDERED, ADJUDGED, and DECREED that judgment is entered in
favor of AT&T as folloWs:

l. AT&T has not infringed U.S. Patent No. 6,560,461.

2. Claims 1, 11, and 13 of U.S. Patent No. 6,560,461 are invalid.

3. Claim 28 of U.S. Patent No. 6,560,461 is not invalid.

4. AT&T’s counterclaims of invalidity as to the remaining claims of
U.S. Patent No. 6,560,461 are dismissed Without prejudice

5. AT&T has not infringed U.S. Patent No. 7,925,273.

6. Claim 1 of U.S. Patent No. 7,925,273 is not invalid.

7. Plaintiff Enovsys shall recover nothing on its claims.

[PROPOSED] JUDGMENT l CASE NO. 211 l-cv-OSZlO-SS

 

 

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lT lS FURTHER ORDERED, ADJUDGED, and DECREED that AT&T is the
prevailing party entitled to recover costs pursuant to Federal Rule of Civil

Procedure 54(d) and Local Rule 54~1.

IT lS SO ORDERED.

DATED: [L[W. /é¢ W/§/ WQZM/Q\l

Unorable Suzanne W[Sea
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[PROPOSED] JUDGMENT 2 CASE NO. 211 l-cv~05210-SS

 

